                         Case 3:17-cv-00072-NKM-JCH Document 985-1 Filed 07/02/21 Page 1 of 1 Pageid#:
                                                          16501

DATE             PERSON               DESCRIPTION                                                               HOURS          RATE         TOTAL
                                      Review and revise updated R. Ray ESI certification form per Y.
     5/18/2020 Katherine Cheng        Barkai                                                                             0.4 $     275.00   $        110.00
SUBTOTAL                                                                                                                 0.4 $     275.00   $        110.00
                                      Review opinion on motion to compel against R. Ray; prepare
       5/18/2020 Yotam Barkai         certification form for R. Ray                                                       1 $      275.00   $        275.00
                                      Attention to R. Ray court orders; draft motion for evidentiary
                                      sanctions and adverse inferences against R. Ray; review prior briefs,
       5/28/2020 Yotam Barkai         exhibits, and other materials on R. Ray                                              3 $     275.00   $        825.00
       5/29/2020 Yotam Barkai         Review J. Phillips revisions to R. Ray sanctions brief                             0.5 $     275.00   $        137.50
                                      Attention to motion for sanctions against R. Ray; revise and circulate
       5/30/2020 Yotam Barkai         motion                                                                             0.5 $     275.00   $        137.50
                                      Attention to motion for sanctions against R. Ray; further revise and
       5/31/2020 Yotam Barkai         circulate motion for sanctions against R. Ray                                       2 $      275.00   $        550.00
                                      Attention to R. Ray sanctions motion; revise, finalize, and file R. Ray
      6/1/2020 Yotam Barkai           sanctions motion                                                                   2.5   $   275.00   $         687.50
SUBTOTAL                                                                                                                 9.5   $   275.00   $       2,612.50
     5/28/2020 Jessica Phillips       Reviewed motion for sanctions against Ray                                          1.5   $   450.00   $         675.00
      6/1/2020 Jessica Phillips       Reviewed final version of motion for sanctions against Ray                         0.5   $   450.00   $         225.00
SUBTOTAL                                                                                                                   2   $   450.00   $         900.00

                                      Prepared exhibits to the motion for sanctions against Defendant Ray
     6/1/2020 Josh Hasler             and provided other filing assistance, per request of Y. Barkai                     1.4 $     100.00   $        140.00
SUBTOTAL                                                                                                                 1.4 $     100.00   $        140.00

TOTAL                                                                                                                   13.3                $       3,762.50
